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                            EXHIBIT 8

                                 to

              PAUL D. BRACHMAN DECLARATION
             IN SUPPORT OF DEFENDANT'S TRIAL
                           BRIEF
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1                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
2                             PANAMA CITY DIVISION

3
       RESTORE ROBOTICS, LLC,          )
4      RESTORE ROBOTICS REPAIRS, LLC,  )
       and CLIF PARKER ROBOTICS, LLC,  )
5                                      )
                  Plaintiffs,          )
6                                      )
            v.                         )
7                                      )
                                       )
8      INTUITIVE SURGICAL, INC.,       )       Case No: 5:19-CV-55/TKW-MJF
                                       )
9                 Defendant.           )       Pensacola, Florida
       ________________________________)       January 13, 2023
10                                     )
       INTUITIVE SURGICAL, INC.,       )       2:02 p.m.
11                                     )
                  Counterclaimant,     )
12          v.                         )
                                       )
13     RESTORE ROBOTICS, LLC,          )
       RESTORE ROBOTICS REPAIRS, LLC, )
14     and CLIF PARKER ROBOTICS, LLC, )
                                       )
15                Counterclaim         )
                  Defendants.          )
16     ________________________________)

17

18                    TRANSCRIPT OF PRETRIAL CONFERENCE
                  BEFORE THE HONORABLE T. KENT WETHERELL, II
19                       UNITED STATES DISTRICT JUDGE
                             (Pages 1 through 108)
20

21

22

23

24                         Julie A. Wycoff, RMR, CRR
                      Official United States Court Reporter
25                  (850) 470-8196 * julieawycoff@gmail.com
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1      APPEARANCES:

2      For the Plaintiffs:        Jeffrey L. Berhold, P.C.
                                  by: JEFFREY L. BERHOLD
3                                 1230 Peachtree Street
                                  Suite 1050
4                                 Atlanta, Georgia 30309
                                  (404) 872-3800
5                                 jeff@berhold.com

6                                 Harrison Rivard Duncan & Buzzett
                                  by: WILLIAM G. HARRISON
7                                 101 Harrison Avenue
                                  Panama City, Florida 32401
8                                 (850) 769-1414
                                  wharrison@harrisonrivard.com
9

10     For the Defendant:         ALLEN J. RUBY
                                  15559 Union Avenue
11                                Suite 138
                                  Los Gatos, California 95032
12                                (408) 477-9690
                                  allen@allenruby.com
13
                                  Covington & Burling, LLP
14                                by: SONYA D. WINNER and
                                       ANDREW D. LAZEROW
15                                One CityCenter
                                  850 Tenth Street NW
16                                Washington, DC 20001
                                  (202) 662-5638
17                                swinner@cov.com
                                  alazerow@cov.com
18
                                  Skadden Arps Slate Meagher & Flom, LLP
19                                by: KAREN M. LENT
                                       MICHAEL H. MENITOVE
20                                One Manhattan West
                                  New York, New York 10001
21                                (212) 735-3000
                                  karen.lent@skadden.com
22                                michael.menitove@skadden.com

23                                Beggs & Lane
                                  by: DAVID L. MCGEE
24                                501 Commendencia Street
                                  Pensacola, Florida 32501
25                                (850) 432-2451
                                  dlm@beggslane.com
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1                              P R O C E E D I N G S

2           (Call to Order of the Court.)

3                THE COURT:    Y'all be seated, please.

4                All right.    This is Case Number 5:19cv55, Restore

5      Robotics v. Intuitive Surgical.

6                Why don't we begin with appearances, please.

7                MR. BERHOLD:    Good afternoon, Your Honor.         Jeff

8      Berhold for plaintiffs.

9                MR. HARRISON:    William Harrison for the plaintiffs.

10               MR. RUBY:    Good afternoon, Your Honor.        My name is

11     Allen Ruby for the defendant.

12               MR. LAZEROW:    Good afternoon, Your Honor.         Andrew

13     Lazerow for defendant, Intuitive Surgical.

14               MS. WINNER:    Good afternoon, Your Honor.         Sonya Winner

15     for defendant, Intuitive.

16               MS. LENT:    Good afternoon.     Karen Lent for Intuitive.

17               MR. MENITOVE:    Good afternoon.      Mike Menitove for

18     Intuitive.

19               MR. MCGEE:    Good afternoon, Judge.       David McGee for

20     Intuitive Surgical.

21               THE COURT:    All right.      Good afternoon to everybody.

22               We've got a fair amount to cover today, and we've got

23     as much time as we need to do it.

24               I guess let me -- let's kind of begin out of order.            I

25     have one of our marshals up here because one of the issues the
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1      saying, "We had this series of correspondence" -- excuse me --

2      "and the FDA quite recently said, when you do this, it's

3      remanufacturing."

4                 And the jury can decide, is that what Restore was

5      doing and does that require 510(k) clearance or not?

6                 But we thought that she stopped short of the line that

7      you drew, which was to say, is 510(k) clearance required?            She

8      did not say that.

9                 THE COURT:    Well, I'm reading the last sentence of her

10     updated report where she says, "The consistency of these

11     communications, as well as the creation of a new product code,

12     demonstrates that the FDA has a clear and distinct policy that

13     any increase in the number of uses to EndoWrist instruments

14     beyond which they were originally cleared requires a 510(k)

15     submission, review, and a clearance determination of the

16     510(k)."

17                MS. LENT:    And that's her explaining what that QSM

18     code means.   Again, I think that that's consistent with your

19     order.   She's not saying, "Restore needed 510(k) clearance."

20     She's saying, "The FDA has determined that extending the number

21     of uses in these EndoWrist instruments is remanufacturing.

22     Under the FDA regulations, remanufacturing requires

23     510(k) clearance."     I think that's as far as she'd go.

24                THE COURT:    I guess, to me, that -- the conclusion

25     she's drawing there is, if not over the line I thought I drew,
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1      it's further than I think she should be permitted to go.           I

2      don't have a problem with her describing that -- what I just

3      said, that on the newfangled Xi version, Intuitive submitted a

4      request, or whatever they did, and the FDA sent it back and said

5      they have to go through 510.     I mean, that fact could be

6      evidence from which the jury could infer that the FDA has

7      decided that it's required.

8                Similarly with the QSM code, the fact that they have

9      created a new code could be evidence from which the jury could

10     infer that 510 clearance is required.

11               Finally, this whole run-it-up-the-chain process,

12     again, is evidence from which the jury could infer that that

13     statement from the team lead is wrong, right -- I don't remember

14     exactly what it was.

15               But I think all of those facts, I don't have a problem

16     with her coming in and telling the jury what happened in the

17     context in which it happened, but taking that next step, which I

18     read that last sentence to do, to say, "Jury, I'm now telling

19     you what -- the answer to the question, and you've got an

20     instruction in there on it.     I'm telling you what the answer to

21     that question is," I have a little bit of concern with that,

22     because while it's not specifically saying Restore needed one,

23     for all intents and purposes, it is.

24               And so maybe I'm drawing too fine of a distinction in

25     my mind, but that's kind of how I see it.        Because ultimately,
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1      what I anticipated in this whole thing was that we would do

2      something very similar to what you've proposed -- y'all had

3      proposed, or somebody's proposed in their instructions, which is

4      to say, "The FDA regulates medical devices.        Some devices that

5      are comparable to other devices can be approved through or

6      cleared through the 510(k) process.      Devices that are

7      remanufactured can't.    A remanufactured device is this, that, or

8      the other."

9                And essentially, that's kind of -- we tell them what

10     the law is in the remanufacturing context.        We've got

11     Ms. Rosecrans and whatever they're going to bring forward, lay

12     witnesses or experts, to articulate what -- how the process

13     works and what their particular devices are and where they fit

14     in, and the jury then will ultimately have to make that

15     determination, is how I see it.     Maybe I'm just completely

16     missing something, or the hour has gotten to me, but...

17               MS. LENT:    Well, Your Honor, your prior ruling said

18     that she couldn't espouse a personal interpretation that

19     differed from the FDA's public interpretations, and these are

20     the FDA's public interpretations which specifically says to

21     Iconocare, "When you extend the number of uses of these

22     EndoWrist instruments, that is remanufacturing."         And that --

23               THE COURT:    And again, I think she can come in and

24     explain what the significance of this new QSM code is and the

25     fact that it was given to the folks that they now own, and --
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1      but again, I think there's still a line that gets her to the

2      point of instructing the jury about the law, and I'm not sure

3      that's her job.

4                  MS. LENT:    I'm not sure where that line begins and

5      ends.    Because --

6                  THE COURT:    Right.

7                  MS. LENT:    -- the documents say, literally, when you

8      extend the usage, the use -- the number of uses in these

9      instruments, it is remanufacturing.        So why couldn't she say

10     that?

11                 THE COURT:    Mr. Berhold.

12                 MR. BERHOLD:    I'm not familiar with that quote

13     actually.   One, I agree with the Court that the line was drawn

14     in the first place.      I agree that she's gone over the line.           I

15     think it's important to say -- I mean, that's the whole debate,

16     right, is the FDA itself has never -- even the FDA, after

17     four years, has never taken a clearer position.

18                 They're saying, "We can interpret from a product code

19     this," or "We can interpret from the boilerplate from a 510(k)

20     that."   So, so long as the FDA hasn't made a decision on that

21     point that a 510(k) is required, we don't think it's -- if that

22     was the case, that would be evidence in and of itself.             It would

23     speak for itself.

24                 In the meantime, it's not Ms. Rosecrans' position to

25     say one way or the other.      In fact, we know the FDA has never
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1      stopped anyone from repairing these instruments.         That's the

2      issue of fact.

3                THE COURT:    And their argument on that was they

4      told -- I don't know if it was you or Rebotix -- to stop,

5      definitively, through -- or at least some email, whatever that

6      was.   I remember that email in the record saying, "We think this

7      is remanufacturing.    You need to submit a 510(k)."        So I guess

8      it didn't tell you to stop, but it sent the message that you

9      need to go through their process.

10               And the response back was, "We're doing other things

11     right now, so put a pin in it."

12               And so semantics, maybe, but it may be significant.            I

13     mean, they're going to argue that their last definitive

14     statement was telling y'all that you needed one.         You're going

15     to argue that the last definitive statement was this team lead

16     saying, "We haven't decided."     And they're going to then say,

17     "Well, maybe they haven't specifically decided, but the team

18     lead has said nobody's run that up the flagpole; and that, thus,

19     is the last statement, coupled with the fact that they made us

20     go get one, coupled with the fact that they created this new

21     product code."

22               Again, to me, it's all argument for counsel to make in

23     closing or wherever.    And it's Ms. Rosecrans' function to

24     explain the process and what happened, not to then make what I

25     think is a legal assessment, which I read her last thing -- last
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1      sentence of that report to be, ipso facto, 510(k) is required.

2      And I don't think -- I think you're right.        I think it is

3      required.   I think the FDA is sending the message that it's

4      required, but they haven't said it, and I'm not going to say it

5      in the first instance.     And I know you want me to, and we've had

6      that debate.   We're past that.

7                  But the fact remains, I don't -- and because we're

8      simply giving the jury in the instruction -- maybe it's not

9      going to be these exact words, I haven't found it, but page 99,

10     your FDA clearance, that was, in essence, what I expect -- and I

11     know we'll have argument on it at the appropriate time, but that

12     was the essence of what I expected to instruct the jury on.

13     There's a requirement.     It depends on whether you're

14     remanufacturing or not.     They will have heard evidence, and they

15     can decide using Ms. Rosecrans' assessment of things, the

16     plaintiff's assessment of things whether that's remanufacturing

17     or not and make a determination.

18                 So all that being said, I'm -- the ultimate ruling is

19     that I'm denying the motion, the Daubert motion or whatever it

20     was called, in large part with that clarification that

21     Ms. Rosecrans cannot provide that ultimate opinion that she

22     seems to want to provide, that FDA has now definitively

23     determined that 510 clearance is required for this type of

24     activity.

25                 So she can take the jury up to that point, and it will
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1      be up to the jury to make that last inference, if that's the

2      inference they want to make.      Well, in the order that comes out

3      of today, we'll try to articulate that in a slightly better way.

4                 But is there any confusion on that, or do you get the

5      gist of what I'm saying?

6                 MR. BERHOLD:     Restore gets the gist of it.

7                 THE COURT:    Ms. Lent?

8                 MS. LENT:    I understand what you're saying.

9                 THE COURT:    Okay.   All right.     We'll try to articulate

10     that, and the same rule will apply that in the event that we

11     don't articulate it in a way that makes sense or creates more

12     problems or goes beyond what you think we said and what you

13     think you understand, we'll entertain clarification, but

14     certainly not reargument because I think we've hashed and

15     rehashed pretty well.

16                So I think we've gotten to most everything.

17                Mr. Ruby, you had mentioned something about jury

18     instructions, and I know we're not going to go through the

19     instructions as a whole.

20                One thing I did want to specifically speak to -- and I

21     know the parties just gave me -- on a lot of the preliminary

22     instructions, just gave them to me not knowing whether we're

23     going to use depositions or interrogatories and admissions and

24     things like that, but we've got the language if we need it.

25                Jury questions, my understanding is that there's no
